                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC,                                  Case No. 17-12560 (JKS)
et al.,1
                          Remaining Debtors.                         (Jointly Administered)
MICHAEL GOLDBERG, in his capacity as Liquidating
Trustee of the WOODBRIDGE LIQUIDATION TRUST,

                                    Plaintiff,                       Adversary Proceeding
                        vs.                                          Case No. 19-50961 (JKS)

DARIN BAKER,

                                    Defendant.

                                 NOTICE OF SERVICE OF DISCOVERY

         PLEASE TAKE NOTICE THAT on October 15, 2021, plaintiff Michael Goldberg, in his
capacity as Liquidating Trustee of the Woodbridge Liquidation Trust, served the following documents
upon the party listed below via First Class Mail:

         Plaintiff’s Request For Production Of Documents Propounded To Defendant, Set One
         Plaintiff’s Special Interrogatories Propounded To Defendant, Set One
         Plaintiff’s Request For Admissions, Set One, Propounded To Defendant
                  Darin Baker
                  4804 Laurel Canyon Blvd, #747
                  Valley Village, CA 91607

    Dated: October 18, 2021                      PACHULSKI STANG ZIEHL & JONES LLP
    Wilmington, Delaware
                                                 /s/ Colin R. Robinson
                                                 Richard M. Pachulski (CA Bar No. 90073)
                                                 Andrew W. Caine (CA Bar No. 110345)
                                                 Bradford J. Sandler (DE Bar No. 4142)
                                                 Colin R. Robinson (DE Bar No. 5524)
                                                 919 North Market Street, 17th Floor, P.O. Box 8705
                                                 Wilmington, DE 19899 (Courier 19801)
                                                 Telephone: 302-652-4100
                                                 Fax: 302-652-4400
                                                 Email: rpachulski@pszjlaw.com
                                                         acaine@pszjlaw.com
                                                         bsandler@pszjlaw.com
                                                         crobinson@pszjlaw.com

                                                 Counsel for the Plaintiff

1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172).
DOCS_DE:236607.1 94811/003
